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                           EXHIBIT A
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                    a) Lankershim underpass




                    b)
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                    c) Moorpark underpass




               2.
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               3. Strathern Park/ 170 Freeway embankment




               4.
